                         THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

In re:                                                   ) Chapter 11
                                                         )
BOY SCOUTS OF AMERICA AND                                ) Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1                                      )
                                                         ) (Jointly Administered)
                                  Debtors.               )
                                                    Objection Deadline: April 12, 2022 at 4:00 p.m.
                                                    Hearing Date: To be scheduled




     SUMMARY COVER SHEET TO THE COMBINED FOURTH AND FIFTH
    MONTHLY APPLICATION AND SECOND INTERIM FEE APPLICATION OF
       THE CLARO GROUP, LLC FOR COMPENSATION FOR SERVICES
                  RENDERED AND REIMBURSEMENT
        OF EXPENSES INCURRED AS EXPERT CONSULTANTS TO THE
     OFFICIAL TORT CLAIMANTS’ COMMITTEE FOR THE PERIOD FROM
              DECEMBER 1, 2021 THROUGH JANUARY 31, 2022

Name of Applicant:                                       The Claro Group, LLC

Authorized to Provide Professional Services to: Official Tort Claimants’ Committee
                                                         September 1, 2021 by order entered on or
Date of Retention:
                                                         about October 8, 2021
Period for which Compensation and
                                                         December 1, 2021 through January 31, 2022
Reimbursement is Sought:
Amount of Compensation Sought as Actual,
                                                         $713,435.50
Reasonable and Necessary:
Amount of Expense Reimbursement Sought
                                                         $0.00
as Actual, Reasonable and Necessary:

This is a(n): _X monthly             _X_ interim          ___ final application.

The total time expended for fee application preparation is approximately 48.6 hours and the
corresponding compensation requested is approximately $16,268.00.




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                                THE CLARO GROUP, LLC PROFESSIONALS

                                                       Hourly Rate    Total Hours    Hourly Rate
                                            1                                                     Total Hours          Total
     Name of Professional           Position            December       December       January
                                                                                                 January 2022       Compensation
                                                          20212          2021          2022 2


 McNally, Katheryn           Managing Director        $      625.00         160.50 $       625.00         136.80 $       185,812.50
 Cadarette Jr., John         Managing Director               675.00           9.10         675.00            -             6,142.50
 Raiff, Matthew              Managing Director               625.00          29.00         625.00          44.20          45,750.00
 Nicholson, Brent            Director                        495.00          49.40         520.00          44.30          47,489.00
 Harriman, Allison           Senior Manager                  395.00          85.30         415.00         117.80          82,580.50
 McHenry, Gina               Senior Manager                  395.00          86.60         415.00          97.90          74,835.50
 Trilla, Barry               Senior Manager                  395.00          57.50         415.00          31.00          35,577.50
 Nguyen, Hung                Manager                         350.00           3.50         370.00            -             1,225.00
 Unverzagt, Eric             Manager                         350.00          19.50         370.00            -             6,825.00
 Young, Andrew               Manager                         305.00         131.20         370.00          95.20          75,240.00
 Boswell, Anne Margaret      Senior Consultant               305.00          47.40         320.00          11.70          18,201.00
 Schoenfeld, Erika           Senior Consultant               305.00          43.90         320.00           1.30          13,805.50
 Tecce, Brendan              Senior Consultant               305.00           3.60         320.00          16.20           6,282.00
 Burke, Evan                 Consultant                      290.00           6.20         305.00           0.80           2,042.00
 DeLarm, Carolyn             Consultant                      290.00          46.80         305.00           7.80          15,951.00
 Martisauski, Brad           Analyst                         265.00          70.30         280.00           7.10          20,617.50
 Smith, Hannah               Analyst                         265.00          77.00         280.00          97.10          47,593.00
 Woloszyk, Evan              Analyst                         265.00          58.00         280.00          43.20          27,466.00
                                Total Hours and Fees:                       984.80                        752.40 $       713,435.50
                                        Blended Rate: $      392.40                $       434.62

 1
  Position status as of January 1, 2022.
 2
  As of January 1, 2022, The Claro Group implemented a scheduled adjustment to hourly rates for many of its employees. Such
 adjustments are reflected in the figures in these columns.


                                          COMPENSATION BY MONTH

                         Time Period                      Total Hours     Total Compensation
                     December 2021                                  984.8 $       386,431.00
                     January 2022                                   752.4         327,004.50
                     Total                                        1,737.2 $       713,435.50

                                       COMPENSATION BY CATEGORY

                                                                          Total Hours
                                                                                        Total Hours    Total
                            Project Categories                             December
                                                                                       January 2022 Compensation
                                                                             2021
 Claim Valuation                                                                  24.8           -   $   9,850.00
 Comparable Matters Research/Analysis                                             46.0           -      14,556.00
 Database Validation                                                               3.5           -       1,112.50
 Fee Application                                                                  15.8          32.8    16,268.00
 Insurance Coverage Analysis                                                      66.5           -      29,959.50
 McNally Deposition Preparation                                                    -            91.1    36,187.00
 Other Expert Reports - Analysis for Rebuttal / Deposition                       361.3         525.7   374,685.50
 Report Preparation Including Rebuttal Reports                                   466.5         102.8   230,695.00
 Survivor Projection                                                               0.4           -         122.00
 Total                                                                           984.8         752.4 $ 713,435.50




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                         THE UNITED STATES BANKRUPTCY COURT

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DELAWARE BSA, LLC,1                                      )
                                                         ) (Jointly Administered)
                                  Debtors.               )
                                                    Objection Deadline: April 12, 2022 at 4:00 p.m.
                                                    Hearing Date: To be scheduled




    COMBINED FOURTH AND FIFTH MONTHLY APPLICATION AND SECOND
       INTERIM FEE APPLICATION OF THE CLARO GROUP, LLC FOR
    COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
     EXPENSES INCURRED AS EXPERT CONSULTANTS TO THE OFFICIAL
    TORT CLAIMANTS’ COMMITTEE FOR THE PERIOD FROM DECEMBER 1,
                   2021 THROUGH JANUARY 31, 2022

         Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively,

the “Bankruptcy Rules”), and the Court’s “Order (I) Approving Procedures for (A) Interim

Compensation and Reimbursement of Expenses of Retained Professionals and (B) Expense

Reimbursement for Official Committee Members and (II) Granting Related Relief” (the

“Administrative Order”) [Docket No. 341] and the “Order Amending the Order (I)

Approving Procedures for (A) Interim Compensation and Reimbursement of Expenses of

Retained Professionals and (B) Expense Reimbursement for Official Committee Members and

(II) Granting Related Relief,” signed on or about August 6, 2021 [Docket No. 5899] (the

“Amended Administrative Order”), The Claro Group, LLC (“Claro” or “Applicant”), expert

consultants and expert witness to the Official Tort Claimants’ Committee (“Tort Claimants’


1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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Committee” or “TCC”) in the chapter 11 bankruptcy cases of Boy Scouts of America and

Delaware BSA, LLC (the “Debtors”), hereby submits its Combined Fourth and Fifth

Monthly Application and Second Interim Fee Application for Compensation for Services

Rendered and Reimbursement of Expenses for the Period from December 1, 2021 through

January 31, 2022 (the “Application”).

           By this Application, Claro seeks an allowance of compensation in the amount of

$713,435.50 and initial payment of $570,748.40 (80% of the allowed fees) for a total

payment of $713,435.50 for the period December 1, 2021 through January 31, 2022 (the

“Combined Monthly and Interim Period”).2                      In support of this Application, Claro

respectfully represents as follows:

                                                 Background

           1.      On February 18, 2020 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code. On the Petition Date, the

Debtors also filed certain motions and applications seeking certain “first day” orders. The

factual background relating to the Debtors’ commencement of these cases is set forth in the

“Declaration of Brian Whittman In Support of the Debtors’ Chapter 11 Petitions and First

Day Pleadings” [Docket No. 16].

           2.      The Debtors have continued in possession of their property and have

continued to operate and manage their businesses as a debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code.                     No trustee or examiner has been

appointed in these chapter 11 cases.

           3.      On or around March 4, 2020 (the “Committee Formation Date”), the Office of

the United States Trustee (the “US Trustee”) formed the Tort Claimants’ Committee to

2
    Claro is not seeking reimbursement of expenses for the Combined Monthly and Interim Period.


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represent all tort claimants of the Debtors pursuant to section 1102 of the Bankruptcy Code.

See Docket No. 142. On the Committee Formation Date, the Tort Claimants’ Committee

determined to retain, subject to Court approval, Pachulski Stang Ziehl & Jones LLP (“PSZJ”

or “Counsel”) as counsel to represent the Tort Claimants’ Committee in all matters during the

pendency of these chapter 11 cases. The Court approved the appointment of PSZJ. See

Docket No. 398.

        4.       After the Committee Formation Date, the Tort Claimants’ Committee

determined to retain, subject to Court approval, Claro as its expert consultants and expert

witness in the Debtors’ cases. On October 8, 2021, the Court entered its “Order Authorizing

and Approving the Tort Claimants’ Committee’s Application for Entry of an Order Under

11 U.S.C. §§ 1103(a) and 328(a) and Fed. R. Bankr. P. 2014(a) Authorizing Retention of

The Claro Group LLC as Expert Consultant on Sexual Abuse and Expert Witness Effective

as of September 1, 2021” (the “Retention Order”) [Docket No. 6527]. The Retention Order

authorized Claro to be compensated on an hourly basis and to be reimbursed for actual and

necessary out-of-pocket expenses. A copy of the Retention Order is attached hereto as

Exhibit A.

        5.       On or about April 6, 2020, the Court signed the Administrative Order,

authorizing certain professionals (“Professionals”) to submit monthly applications for interim

compensation and reimbursement for expenses, pursuant to the procedures specified therein.

On or about August 6, 2021, the Court signed the Amended Administrative Order. The

Administrative Order, as amended by the Amended Administrative Order, provides, among

other things, that a Professional may submit monthly fee applications. If no objections are

made within fourteen (14) days after service of the monthly fee application the Debtors are




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authorized to pay the Professional eighty percent (80%) of the requested fees and one hundred

percent (100%) of the requested expenses. Beginning with the period ending April 30, 2020

and at three-month intervals thereafter, each of the Professionals shall file and serve an

interim application for allowance of the amounts sought in its monthly fee applications for

that period. All fees and expenses paid are on an interim basis until final allowance by the

Court.

         6.      On January 28, 2022, Claro filed an application for fees in the amount of

$1,019,775.50 and expenses in the amount of $0.00 for the time period covering September

1, 2021 through November 30, 2021 [Docket No. 8555]. To date, $815,820.40 has been paid

to Claro pursuant to this fee application.

                              Compensation Paid and Its Source

         7.      All services for which Claro requests compensation were performed for or on

behalf of the Tort Claimants’ Committee.

         8.      Claro has received no payment and no promises for payment from any source

other than the Debtors’ estates for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application.           There is no

agreement or understanding between Claro and any other person other than the

partners/directors of Claro for the sharing of compensation to be received for services

rendered in these cases.

                                        Fee Statements

         9.      The fee statement for the Fourth and Fifth Monthly Interim Period is attached

hereto as Exhibit B. Exhibit B provides the detailed time entries for the services provided by

category by Claro as expert consultants to the Tort Claimants’ Committee, as well as the




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detail of any expenses incurred. To the best of Claro’s knowledge, this Application complies

with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the Interim

Compensation Order. Claro’s time reports are recorded contemporaneously at the time the

work is performed.

        10.      Unless time was spent in one-time frame on a variety of different matters for

a particular client, separate time entries are set forth in the time reports. Claro’s charges for

its professional services are based upon the time, nature, extent and value of such services

and the cost of comparable services other than in a case under the Bankruptcy Code.

                                   Actual and Necessary Expenses

        11.      Claro is not seeking reimbursement for any expenses during the Combined

Monthly and Interim Period.

        12.      Generally, Claro does not charge for photocopying, printing, or outgoing

domestic facsimiles or incoming facsimiles.

        13.      With respect to providers of on-line research services (e.g., LEXIS and

PACER), Claro charges the standard usage rates these providers charge for computerized

legal research. Claro bills its clients the actual amounts charged by such services, with no

premium. Claro believes the foregoing rates are the market rates that the majority of similar

firms/providers charge clients for such services.

                               Summary of Services Rendered

        14.      The names of the directors and associates of Claro who have rendered

professional services in these cases during the Combined Monthly and Interim Period are set

forth in Exhibit B. The hourly rates shown therein are equal to Applicant’s normal hourly




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billing rates charged by Applicant’s personnel to solvent clients where Applicant ordinarily

receives payment in full within less than 90 days.

        15.      Applicant carefully reviewed all time charges to ensure they were reasonable

and non-duplicative. All services included in this Application were billed at the applicable

hourly rates. Costs and disbursements were also reviewed. Time was billed in tenths of an

hour.

        16.      Claro, by and through its personnel, has prepared and/or assisted in the

preparation of various expert reports in connection with the Debtors’ bankruptcy cases, and

has performed all necessary professional services which are described and narrated in detail

below. Claro’s efforts have been extensive due to the size and complexity of the Debtors’

bankruptcy cases.

                               Summary of Services by Project

        17.      The services rendered by Claro during the Combined Monthly and Interim

Period can be grouped into the categories set forth below. Claro attempted to place the

services provided in the category that best relates to such services. However, because

certain services may relate to one or more categories, services pertaining to one category

may in fact be included in another category. These services performed, by categories, are

generally described below, with a more detailed identification of the actual services

provided set forth in Exhibit B. Exhibit B identifies the professionals who rendered

services relating to each category, along with the number of hours for each individual and

the total compensation sought for each category.

        A.       Claim Valuation

        18.      In December, Claro continued to analyze and perform quality control checks




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on the claim valuation model prior to issuance of its Affirmative Report on December 5, 2021

(“McNally Expert Report”) and incorporated updates as necessary and appropriate.

                 Fees: $9,850.00              Hours: 24.8

        B.       Comparable Matters Research/Analysis

        19.      Claro continued to perform research to identify and capture relevant

information related to matters that may be considered comparable to the sexual abuse claims

filed in this case. In addition, Claro continued to extract the relevant attributes for data

analysis and performed analysis on resulting data points to observe trends in the data.

                 Fees: $14,556.00             Hours: 46.0

        C.       Database Validation

        20.      In December, Claro received an updated version of the Tranche 6 data and

performed comparison analysis to ensure it tied to the original Tranche 6 claims data.

                 Fees: $1,112.50              Hours: 3.5

        D.       Insurance Coverage Analysis

        21.      As part of Claro’s scope and in order to inform the Court, Claro was asked to

analyze BSA’s available insurance coverage and allocate claim values amongst the different

insurance companies to determine the insurers’ share of the liabilities. In December, Claro

continued to perform quality control analysis on the policy data provided by Counsel. Claro

performed quality control checks on the results from the allocation scenarios outlined in the

McNally Expert Report and developed Exhibits for the McNally Expert Report. Claro

reviewed the data and documents, including settlement agreements, relevant to its insurance

coverage analysis.

                 Fees: $29,959.50             Hours: 66.5




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        E.       Survivor Population Estimate

        22.      In December, prior to the issuance of the McNally Expert Report, Claro

performed one last quality control check for the survivor population estimate.

                 Fees: $122.00         Hours: 0.4

        F.       Report Preparation Including Rebuttal Reports

        23.      As part of its retention, Claro was asked to prepare an expert report analyzing

the claims filed in the chapter 11 cases by over 82,000 survivors of alleged sexual abuse

against BSA, and provide opinions on a reasonable valuation range for the BSA sexual

abuse claims in the aggregate. Additionally, Claro was asked to provide opinions with

respect to the allocation of those claim valuations to known insurance coverage.            Ms.

McNally and the Claro team prepared and submitted the McNally Expert Report and

numerous exhibits to inform the Court and other parties in these chapter 11 cases related to

Claro’s methodology and opinions.

        After the submission of the McNally Expert Report on December 5, 2021, Claro was

asked to develop alternate allocation analysis based on the assumption that the 1986 – 2008

INA and Liberty Mutual fronting policies contained aggregate limits. Claro updated policy

information for insurance allocation purposes. At the request of TCC Counsel and as

presented in Claro’s Rebuttal Report, Claro then performed several different allocation

scenarios using its claim valuation and the updated policy assumptions to create an alternate

range of allocation results to numerous insurance carriers.

        As part of its retention, Claro was asked to prepare rebuttal expert reports analyzing

the Bates White Report and methodology, the KCIC Report and methodology, and the

Treacy Report and methodology. Claro prepared and submitted the Rebuttal to Expert




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Report of Charles E. Bates (“Bates White Rebuttal”), the Rebuttal to Expert Reports of

Nancy A. Gutzler and Expert Report of Eileen C. Treacy, Ph. D. and Supplemental Expert

Report of Katheryn R. McNally, and numerous exhibits to inform the Court and other

parties in these chapter 11 cases related to Claro’s methodology and opinions.

        At the request of Counsel, Claro also performed analysis on the Methodist Abuse

Claims.

                 Fees: $230,695.00           Hours: 569.3

        G.       Other Expert Reports – Analysis for Rebuttal / Deposition

        24.      After submission of the McNally Expert Report on December 5, 2021, Claro

reviewed and analyzed Debtors and Certain Insurers’ Expert Reports including Charles E.

Bates (“Bates White Report”), Nancy A. Gutzler (“Gutzler Report”), Michael Burnett,

(“Burnett Report”), Brian Whittman (“Whittman Report”), Eileen C. Treacy, Ph.D. (“Treacy

Report”), Marc C. Scarcella, M.A. (“Scarcella Report”), Michael Averill, (“Averill

Report”).

        Claro analyzed the Expert Reports with respect to the methodology and opinions

contained therein, including inputs, assumptions, and data relied upon. Claro performed

analysis to consider whether any of the information contained in the Bates White Report,

Gutzler Report, or any other report warranted an update to Claro’s valuation of the BSA

Sexual Abuse Claims or insurance allocation analysis. Claro performed analysis to identify

flaws in the Bates White Report and correct the flaws. Claro analyzed the Gutzler Report for

differences in assumptions.

        After the submission of all parties’ rebuttal reports on January 5, 2022, Claro

analyzed and reviewed various rebuttal and supplemental reports at the request of counsel.




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Claro performed analysis to consider whether any of the information contained in the Expert

Rebuttal Reports warranted an update to Claro’s valuation of the BSA Sexual Abuse Claims

or insurance allocation analysis and determine whether any additional information was

necessarily to consider other experts’ reports.

                 Fees: $374,685.50            Hours: 887.0

        H.       McNally Deposition Preparation

        25.      In preparation of deposition, Claro reviewed reports issued in this case and

certain analysis supporting those reports and related opinions.

                 Fees: $36,187.00             Hours: 91.1

        I.       Fee Application Preparation

        26.      During the Combined Monthly and Interim Period, Claro updated and

finalized its fee applications for the period September 1, 2021 through November 30, 2021.

        Of note, prior to filing any fee application in this matter, Claro provides its fees and

expenses to the TCC for review and comment and only files a fee application after it

receives TCC approval of its fees and expenses.

                 Fees: $16,268.00             Hours: 48.6

                                     Valuation of Services

        27.      Professionals and paraprofessionals of Claro expended a total of 1,737.2 hours

as expert consultants to the Tort Claimants’ Committee during the Combined Monthly and

Interim Period, as follows:




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                                                       Hourly Rate    Total Hours    Hourly Rate
                                            1                                                     Total Hours          Total
     Name of Professional          Position             December       December       January
                                                                                                 January 2022       Compensation
                                                          20212          2021          2022 2


 McNally, Katheryn          Managing Director        $       625.00         160.50 $       625.00         136.80 $       185,812.50
 Cadarette Jr., John        Managing Director                675.00           9.10         675.00            -             6,142.50
 Raiff, Matthew             Managing Director                625.00          29.00         625.00          44.20          45,750.00
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 Trilla, Barry              Senior Manager                   395.00          57.50         415.00          31.00          35,577.50
 Nguyen, Hung               Manager                          350.00           3.50         370.00            -             1,225.00
 Unverzagt, Eric            Manager                          350.00          19.50         370.00            -             6,825.00
 Young, Andrew              Manager                          305.00         131.20         370.00          95.20          75,240.00
 Boswell, Anne Margaret     Senior Consultant                305.00          47.40         320.00          11.70          18,201.00
 Schoenfeld, Erika          Senior Consultant                305.00          43.90         320.00           1.30          13,805.50
 Tecce, Brendan             Senior Consultant                305.00           3.60         320.00          16.20           6,282.00
 Burke, Evan                Consultant                       290.00           6.20         305.00           0.80           2,042.00
 DeLarm, Carolyn            Consultant                       290.00          46.80         305.00           7.80          15,951.00
 Martisauski, Brad          Analyst                          265.00          70.30         280.00           7.10          20,617.50
 Smith, Hannah              Analyst                          265.00          77.00         280.00          97.10          47,593.00
 Woloszyk, Evan             Analyst                          265.00          58.00         280.00          43.20          27,466.00
                               Total Hours and Fees:                        984.80                        752.40 $       713,435.50
                                       Blended Rate: $       392.40                $       434.62

 1
  Position status as of January 1, 2022.
 2
  As of January 1, 2022, The Claro Group implemented a scheduled adjustment to hourly rates for many of its employees. Such
 adjustments are reflected in the figures in these columns.


           28.       The nature of work performed by these individuals is fully set forth in Exhibit B

attached hereto. These are Claro’s normal hourly rates for work of this character. The reasonable

value of the services rendered by Claro for the Tort Claimants’ Committee during the

Combined Monthly and Interim Period is $713,435.50.

           29.       In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, it is respectfully submitted that the amount requested by Claro is fair and reasonable given

(a) the complexity of the case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under the Bankruptcy Code. Moreover, Claro has reviewed the requirements of Del.

Bankr. LR 2016-2 and the Amended Administrative Order and believes that this Application

complies with such Rule and Order.




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        WHEREFORE, Claro respectfully requests that, for the period December 1, 2021

through January 31, 2022, an interim allowance be made to Claro for compensation in the

amount of $713,435.50 and initial payment of $570,748.40 (80% of the allowed fees) (Claro

has not requested reimbursement of expenses during the Combined Monthly and Interim

Period).

Dated this 29 day of March, 2022.         THE CLARO GROUP, LLC

                                          By: /s/ Katheryn McNally
                                          Its: Managing Director
                                          123 N. Wacker Street, Suite 2100
                                          Chicago, Illinois 60606
                                          Tel: 312.546.3400
                                          Fax: 312.554.8085
                                          Email: kmcnally@theclarogroup.com

                                          Expert Consultants and Expert Witness to
                                          the Official Tort Claimants’ Committee




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                                            VERIFICATION

The undersigned, Managing Director of Claro, certifies that except as otherwise noted

elsewhere:

                 1.          She has read this Fee Application.


                 2.          This Fee Application complies with the mandatory provisions of the

Guidelines;


                 3.          The fees are billed in accordance with the billing practices described

herein, and except as otherwise indicated fall within the Guidelines; and


                 4.          Except to the extent prohibited by the Guidelines, the fees sought

herein have been billed in accordance with practices customarily employed by Claro and

accepted by Claro’s clients.


                 5.          Claro submits that this Fee Application is in compliance with

Bankruptcy Code sections 330 and 331, the Bankruptcy Rules, the Interim Compensation

Order, and the Guidelines.

Dated this 29 day of March, 2022.                  /s/ Katheryn McNally
                                                   The Claro Group, LLC
                                                   123 N. Wacker Street, Suite 2100
                                                   Chicago, Illinois 60606
                                                   Tel: 312.546.3400
                                                   Fax: 312.554.8085
                                                   Email: kmcnally@theclarogroup.com

                                                   Expert Consultants and Expert Witness to
                                                   the Official Tort Claimants’ Committee




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